                                                   Case 3:07-cv-05944-JST Document 4643 Filed 05/10/16 Page 1 of 1



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                                             6                                 UNITED STATES DISTRICT COURT
                                             7                              NORTHERN DISTRICT OF CALIFORNIA
                                             8                                       SAN FRANCISCO DIVISION
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                                                 IN RE: CATHODE RAY TUBE (CRT)                               Master File No. 3:07-cv-05944-JST
                                            10   ANTITRUST LITIGATION                                        MDL No. 1917
R OBINS K APLAN LLP




                                            11                                                               The Honorable Jon S. Tigar
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                                                 This Document Relates to:
                                            12                                                               [PROPOSED] ORDER OF DISMISSAL
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                                                 Best Buy Co. Inc. et al. v. Hitachi, Ltd. et al.,
                                            13   No. 3:11-cv-05513-JST
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                                            15            The Court having considered the stipulation of the parties, and good cause appearing

                                            16   therefore, orders as follows:

                                            17            1) All claims asserted by Plaintiffs Best Buy Co., Inc., Best Buy Purchasing LLC, Best

                                            18                Buy Enterprise Services, Inc., Best Buy Stores, L.P., and Bestbuy.com, L.L.C. against

                                            19                Defendant LG Electronics, Inc. in the underlying action are hereby dismissed with

                                            20                prejudice pursuant to Fed. R. Civ. P. 41(a)(2).

                                            21            2) Each party shall bear its own costs and attorneys’ fees.
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                                            22            IT IS SO ORDERED.
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                                                                                         The Honorable JonSS.OTigar
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                                            25                                                     IT I DISTRICT COURT JUDGE
                                                                                         UNITED STATES
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